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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK

 Mordechai Atlas                                                                      Case No. 1:18-cv-03233-WFK-SMG

                                                                    Plaintiff,

                                                                                        ANSWER & AFFIRMATIVE
                                                                                      DEFENSES TO COUNTERCLAIM



               -v.-
 Equifax Information Services, LLC,
 Citibank N.A.
                                                                 Defendants.

 Citibank, N.A.
                                                                Counter-Claimant,



               -v.-
 Mordechai Atlas
                                                                 Counter-Defendant.


 Now comes Plaintiff-Counter Defendant Mordechai Atlas (“Plaintiff” or “Atlas”), by and

 through his undersigned counsel, and responds to Defendant-Counter Claimant, Citibank, N.A.’s

 (“Defendant” or “Citibank”) Counterclaims as follows1:




                                                             
 1
   For the sake of consistency between the pleadings, Plaintiff-Counter Defendant’s Answer & Affirmative Defenses
 to Counterclaim, as set forth herein, will be formatted accordingly as such that it follows the paragraph numbering
 as set forth in Defendant-Counter Claimant’s Answer with Counterclaims, ECF Doc. #13.
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                ANSWER TO CITIBANK N.A.’S FIRST COUNTERCLAIM


    19. Plaintiff-Counter Defendant neither admits nor denies the allegation as set forth in ¶19 of

       the Counterclaim as no documents has been presented in support of this allegation, and

       leaves Defendant-Counter Claimant to its proofs.

    20. Atlas neither admits nor denies the allegation as set forth in ¶20 of the Counterclaim and

       leaves Citibank to its proofs.

    21. Atlas admits the allegation as set forth in ¶21 of the Counterclaim.

    22. Atlas neither admits nor denies the allegation as set forth in ¶22 of the Counterclaim and

       leaves Citibank to its proofs.

    23. Atlas neither admits nor denies the allegation as set forth in ¶23 of the Counterclaim and

       leaves Citibank to its proofs.

    24. Atlas neither admits nor denies the allegation as set forth in ¶24 of the Counterclaim and

       leaves Citibank to its proofs.

    25. Atlas neither admits nor denies the allegation as set forth in ¶25 of the Counterclaim as

       no documents has been presented in support of this allegation.

    26. Atlas neither admits nor denies the allegation as set forth in ¶26 of the Counterclaim as

       no documents has been presented in support of this allegation.

    27. Atlas neither admits nor denies the allegation as set forth in ¶27 of the Counterclaim as

       no documents has been presented in support of this allegation.

    28. Atlas neither admits nor denies the allegation as set forth in ¶28 of the Counterclaim as

       no documents has been presented in support of this allegation.

    29. Atlas neither admits nor denies the allegation as set forth in ¶29 of the Counterclaim as

       no documents has been presented in support of this allegation.
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    30. Atlas neither admits nor denies the allegation as set forth in ¶30 of the Counterclaim as

       no documents has been presented in support of this allegation.



              ANSWER TO CITIBANK N.A.’S SECOND COUNTERCLAIM

    31. Plaintiff-Counter Defendant neither admits nor denies the allegation as set forth in ¶31 of

       the Counterclaim as no documents has been presented in support of this allegation, and

       leaves Defendant-Counter Claimant to its proofs.

    32. Atlas neither admits nor denies the allegation as set forth in ¶32 of the Counterclaim as

       no documents has been presented in support of this allegation.

    33. Atlas neither admits nor denies the allegation as set forth in ¶33 of the Counterclaim as

       no documents has been presented in support of this allegation.

    34. Atlas neither admits nor denies the allegation as set forth in ¶34 of the Counterclaim as

       no documents has been presented in support of this allegation.



                              FIRST AFFIRMATIVE DEFENSE

    35. Plaintiff-Counter Defendant never provided written or oral authorization to open the

       Citibank account in question, account #611********.

    36. Plaintiff-Counter Defendant maintains that he did not sign an application or written

       authorization to open the account in question. Any application or authorization

       purportedly bearing his signature is, in fact, a forgery.

    37. Accordingly, Plaintiff-Counter Defendant maintains that he is not indebted to Citibank in

       the approximate amount of $2,162.07, plus interest, fees and charges.
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                              SECOND AFFIRMATIVE DEFENSE
    38. Defendant-Counter Claimant Citibank has failed to state a claim upon which relief may

       be granted.

                           THIRD AFFIRMATIVE DEFENSE
    39. Defendant-Counter Claimant Citibank lacks standing to maintain some or all of its

       claims.

                          FOURTH AFFIRMATIVE DEFENSE
    40. Defendant-Counter Claimant Citibank is barred equitable relief by the Doctrine of

       Equitable Estoppel.

                            FIFTH AFFIRMATIVE DEFENSE
    41. Defendant-Counter Claimant Citibank is barred from the relief sought by the Doctrine of

       Laches.


                           SIXTH AFFIRMATIVE DEFENSE
    42. Defendant-Counter Claimant Citibank is barred from the relief sought by the Doctrine of

       Unclean Hands.


                          SEVETH AFFIRMATIVE DEFENSE
    43. Defendant-Counter Claimant Citibank is barred from recovery upon this Complaint as

       same should be deemed frivolous and sanctions should be imposed against Plaintiff for

       bringing same.


                           EIGHTH AFFIRMATIVE DEFENSE
    44. Plaintiff-Counter Defendant Atlas reserves the right to supplement its Affirmative

       Defenses up to and including the time of trial.
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        WHEREFORE, Plaintiff-Counter Defendant Mordechai Atlas respectfully requests that

 the Court dismiss the Counterclaim in its entirety, deny any and all requests for judgment against

 Plaintiff-Counter Defendant Mordechai Atlas as stated in Counts One through Two of the

 Counterclaim, and award counsel fees and costs and other equitable relief this Court deems

 appropriate.


                                                     Respectfully Submitted,
                                                     Stein Saks PLLC

 Dated: September 28, 2018                           By: /s/ Daniel Kohn
                                                     Daniel Kohn

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                                                     Attorneys for Plaintiff-Counter Defendant
                                                     Mordechai Atlas
